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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  –Southern Division–


 CONSTANCE COLLINS, et al.,
                                                          Case No. 1:20-cv-01225
 Plaintiffs,

 –v–

 TRI-STATE ZOOLOGICAL PARK                   OF
 WESTERN MARYLAND, INC., et al.,

 Defendants.


      MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION TO STRIKE
   INADMISSIBLE DOCMENTARY EVIDENCE AND IMPROPER TESTIMONY OF
                    DEFENDANT ROBERT CANDY

        In an attempt to avert summary judgment, Defendants Tri-State Zoological Park of Western

Maryland, Inc., Animal Park, Care & Rescue, Inc. and Robert Candy (collectively, “Defendants”)

proffer written correspondence that was never disclosed to Plaintiffs Constance Collins and People

for the Ethical Treatment of Animals, Inc. (“PETA”) (together, “Plaintiffs”), inadmissible hearsay,

and a self-serving affidavit by Defendant Candy.

        Pursuant to Federal Rule of Civil Procedure 37(c), this Court should strike and disregard

for summary judgment purposes the February 4, 2020 email from the U.S. Department of

Agriculture (the “USDA Email”), ECF No. 75-4, because, despite its responsiveness to Plaintiff

PETA’s discovery requests and Defendants’ reliance on the materials to support their defense, the

correspondence was never disclosed to Plaintiffs. The never-disclosed May 4, 2018 letter from

former Allegany County Animal Control Officer, John Carden (the “Carden Letter”), ECF No. 75-

10, should also be stricken under Rule 37(c) and for the additional reason that it is inadmissible

hearsay. Portions of Defendant Robert Candy’s Affidavit, ECF No. 75-3, should be stricken as

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well because several averments exceed his personal knowledge, include improper lay witness

opinion testimony, or are otherwise improper.

I.     Defendants should be precluded from relying on never-disclosed written
       correspondence.

       Despite their responsiveness to Plaintiff PETA’s discovery requests, the scope of which

was never objected to, Defendants attempt to use the never-disclosed USDA Email (which is

missing its attachment), ECF No. 75-4, and Carden Letter, ECF No. 75-10, to support their defense

and create disputes of material fact.

       As an initial matter, both documents at issue are responsive to one or more of PETA’s

document requests, which requested, in relevant part, all documents: “related to whether the

conditions in which [Defendants] keep animals are consistent with local, state, or federal law, and

generally accepted animal husbandry standards”; “related to or constituting any communications,

including documents related to litigation, with federal, state, or local agencies, including but not

limited to the U.S. Department of Agriculture, U.S. Fish and Wildlife Service, Maryland

Department of the Environment, Maryland Department of Natural Resources, Allegany County

Sheriff’s Office, and Allegany County Animal Control”; and “related to or constituting any

complaints, reviews, or comments received from anyone by any means regarding the animals at,

or the operation of, Tri-State or Animal Park, Care & Rescue.” Defs.’ First Response to PETA’s

First Set of Document Requests, ECF No. 38-6, at 5, 7–8.

       Yet Defendants never produced them in discovery. The first time Plaintiffs became aware

of these communications was when Defendants filed them with their Motion—after the close of

discovery and after Plaintiffs filed their Motion for Summary Judgment. Such gamesmanship is

impermissible.




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        Under Federal Rule 37(c), “[i]f a party fails to provide information . . . as required by Rule

26(a) or (e), the party is not allowed to use that information . . . to supply evidence on a motion, at

a hearing, or at a trial, unless the failure was substantially justified or is harmless.” Fed. R. Civ. P.

37(c)(1). In determining whether a nondisclosure is substantially justified or harmless, “a district

court should be guided by,” but is “not required to tick through[,] each of” the following factors:

        (1) the surprise to the party against whom the evidence would be offered; (2) the
        ability of that party to cure the surprise; (3) the extent to which allowing the
        evidence would disrupt the trial; (4) the importance of the evidence; and (5) the
        non-disclosing party’s explanation for its failure to disclose the evidence.”

Wilkins v. Montgomery, 751 F.3d 214, 222 (4th Cir. 2014) (quoting S. States Rack and Fixture,

Inc. v. Sherwin-Williams Co., 318 F.3d 592, 596-97 (4th Cir. 2003)).

        Here, Defendants’ failure to disclose is neither substantially justified nor harmless. First,

Plaintiffs were surprised by the written correspondence—which both predate the filing in this case

and yet which Defendants submitted with their summary judgment opposition. Compare Compl.,

ECF No. 1 (filed on May 14, 2020), with ECF Nos. 75-4 (USDA Email dated February 4, 2020)

and 75-10 (Carden Letter dated May 4, 2018).

        Second, with fact and expert discovery having closed on August 20, 2021 and December

3, 2021, respectively, Am. Sched. Order, ECF No. 58, Plaintiffs were given no opportunity to cure

this surprise by, for example, deposing the authors of the correspondence or attempting to obtain

the attachment to the USDA Email (which has yet to be disclosed). See ECF No. 75-4 (attaching

a document titled “Memo TriState Zoo and VMO Mcfadden.docx”).1


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         Additionally, although Defendants identified John Carden as an individual likely to have
discoverable information and as a potential expert, Defendants did not provide Plaintiffs with valid contact
information for the witness. Declaration of Zeynep Graves ¶¶ 2, 3 & Exs. A, B (Defendants’ Rule 26(a)(1)
and 26(a)(2) disclosures); id. ¶¶ 4, 5 & Exs. C, D (email correspondence from N. Young); Declaration of
Tina Rosa (June 29, 2021) ¶ 5 (declaring that Mr. Carden “resigned in October of 2017”). This is
particularly outrageous in light of the fact that the Carden Letter, which has apparently been in Defendants’
possession since 2018, includes the witness’s phone number. See ECF No. 75-10.

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        Third, pending before this Court are the Parties’ cross-motions for summary judgment, and

“although there is no trial date set,” reopening discovery to “cure the surprise” would “disrupt [the]

schedule in this case.” Cincinnati Ins. Co. v. Fish, No. RDB-19-3355, 2022 WL 562644, at *10

(D. Md. Feb. 24, 2022).

        Fourth, the Carden Letter and the USDA Email are not “important” evidence. As the Fourth

Circuit explained, the importance of the undisclosed evidence “must be viewed from the

perspective of both parties.” S. States Rack And Fixture, Inc., 318 F.3d at 598. Here, Defendants

have made no showing that the Carden Letter or USDA Email, which were proffered for the sole

purpose of creating disputes of fact, neutralize the record evidence that is properly before this

Court. See Corrected Mem. of Law in Supp. of Defs.’ Cross Mot. for Summ. J. & in Opp’n to Pls.’

Mot for Summ. J. (“Defs.’ Mem.”), ECF No. 76-1, at 11–12; see also Pls.’ Opp’n to Defs.’ Mot.

for Summ. J. & Reply in Supp. of Pls.’ Mot. for Summ. J., ECF No. 71-1, at § II.A.

        Finally, Defendants offer no explanation for their failure to disclose.2

        Because Rule 37(c) “generally requires exclusion of evidence that a party seeks to offer

but has failed to disclose,” and because Defendants’ failure to disclose was neither substantially

justified or harmless, this Court should refuse to consider the USDA Email and the Carden Letter.

See S. States Rack And Fixture, Inc., 318 F.3d at 597.




2
        This is not the first time Defendants have failed to comply with their discovery obligations in this
case. Because Defendants were found to have “failed to take such reasonable steps” “and were grossly
negligent in their preservation efforts,” Judge Coulson recommended that this Court prohibit “Defendants
[from] offer[ing] evidence or testimony regarding electronic communications with third parties about the
health or living conditions of the animals at Tri-State that took place during the pendency of this litigation
beyond what has been produced (including by third parties), including any photographs taken during this
time that have not otherwise been produced.” Mem. & Order, ECF No. 66, at 5–6.

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II.    Defendants should be precluded from relying on the unsworn out-of-court statement
       of Mr. Carden.

       In addition to the reasons set forth above, this Court should strike the Carden Letter because

it is inadmissible hearsay. It is well settled that “hearsay evidence, which is inadmissible at trial,

cannot be considered on a motion for summary judgment.” Md. Highways Contractors Ass’n, Inc.

v. State of Md., 933 F.2d 1246, 1251 (4th Cir. 1991). Despite this, Defendants proffer an unsworn

letter from Mr. Carden to support the proposition that the “evidence shows no pattern of denying

animals treatment by licensed veterinarians or the inability of the staff to monitor animals and

recognize signs of disease, not any neglect and abuse in relation thereto.” Defs.’ Mem., ECF No.

76-1, 11. Defendants offer Mr. Carden’s unsworn letter for the truth of the following assertion:

Mr. Carden and Allegany County Animal Control “[n]ever found any evidence of [n]eglect or

[a]buse to any [a]nimal.” Compare id. with Carden Letter, ECF No. 74-10. Yet Defendants provide

no argument why such a statement should be admissible. Id. Because the Carden Letter does not

fall within any of the exceptions to the rule against hearsay, it is not admissible and should not be

considered for the purposes of summary judgment. See Fed. R. Evid. 802–804, 807.

III.   Defendant Candy’s affidavit exceeds his personal knowledge, proffers improper
       opinion testimony, and contains improper, conclusory allegations.

       Portions of Defendant Candy’s Affidavit, ECF No. 75-3, should be stricken and

disregarded for summary judgment purposes because (1) certain portions are completely divorced

from his personal knowledge, see, e.g., Candy Aff. ¶ 15 (Dr. Adams “felt that Snork[le] was in no

pain.”); (2) some portions are impermissibly “conclusory” within the meaning of cases such as

Evans v. Techs. Applications & Serv. Co., 80 F.3d 954, 962 (4th Cir. 1996); and (3) other portions

are impermissible lay witness opinion testimony.

       “[A]n affidavit filed in opposition to a motion for summary judgment must present

evidence in substantially the same form as if the affiant were testifying in court.” Evans, 80 F.3d

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at 962. Thus, “affidavits submitted in support of summary judgment motions [must] be based

on personal knowledge and ‘show that the affiant or declarant is competent to testify on the matters

stated.’” Sanchez Carrera v. EMD Sales, Inc., 402 F. Supp. 3d 128, 141 (D. Md. 2019) (quoting

Fed. R. Civ. P. 56(c)(4)). Similarly, such an affidavit must not be “based upon hearsay.” Evans,

80 F.3d at 962.

          Conclusory allegations and general denials unsupported by any evidence also cannot

support or oppose summary judgment. Leskinen v. Utz Quality Foods, Inc., 30 F. Supp. 2d 530,

533 (D. Md.), aff’d, 165 F.3d 911 (4th Cir. 1998) (“[C]onclusory allegations in an affidavit do not

create a genuine issue of material fact”); United States v. $95,945.18, U.S. Currency, 913 F.2d

1106, 1111 (4th Cir. 1990) (at summary judgment, a claimant must not rest on mere denials of the

adverse party’s pleadings, but must “come forward with specific facts showing that there is a

genuine issue for trial”) (citation and internal quotation marks omitted)); Evans, 80 F.3d at 962

(upholding district court’s decision to strike and disregard portions of the plaintiff’s affidavit, in

part because courts will “generally consider self-serving opinions without objective corroboration

[to be] not significantly probative”).

          Additionally, lay witnesses, like Defendant Candy here, may only provide opinion

testimony so long as it is “(a) rationally based on the witness’s perception; (b) helpful to clearly

understanding the witness’s testimony or to determining a fact in issue; and (c) not based on

scientific, technical, or other specialized knowledge within the scope of Rule 702.” Fed. R. Evid.

701. Unlike testifying experts, “[l]ay witnesses are not entitled to opine broadly or generally;

rather, ‘lay opinion testimony must be based on personal knowledge.’” United States v. Hassan,

742 F.3d 104, 135 (4th Cir. 2014) (quoting United States v. Johnson, 617 F.3d 286, 292 (4th Cir.

2010)).



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        Under the above-referenced standards, the following portions of the Candy Affidavit

cannot create a material fact for summary judgment purposes and should be stricken:

   ¶                                  Testimony                             Grounds for Striking
   5      USDA “[i]nspections are used to identify possible concerns, to    Lack of personal
          be corrected, not always as citations.”                           knowledge.
   8      “[USDA inspectors] have found [no] validity to PETA's             Hearsay.
          claims.”
   9      “AZA standards often do not apply and are usually only             Fed. R. Evid. 701;
          applicable to larger facilities.”                                  Lack of personal
                                                                             knowledge.
   11     “All animals have been and/or have been treated by licensed Conclusory and
          vets when needed.”                                                 unsupported
                                                                             allegation. See
                                                                             Leskinen, 30 F.
                                                                             Supp. 2d at 533; Self-
                                                                             serving allegation
                                                                             without objective
                                                                             corroboration. Evans,
                                                                             80 F. 3d at 963; Fed.
                                                                             R. Evid. 701.
   11     “The Zoo has always maintained a qualified attending               Self-serving allegation
          veterinarian as required by the USDA and AWA.”                     without objective
                                                                             corroboration. Evans,
                                                                             80 F. 3d at 963; Fed.
                                                                             R. Evid. 701.
   11     “Although PETA has tried to say otherwise, including in            Conclusory and
          ongoing complaints to the USDA, the USDA has verified that unsupported
          there has been no violation in this regard.”                       allegation. See
                                                                             Leskinen, 30 F.
                                                                             Supp. 2d at 533;
                                                                             Hearsay.
   11     “Although each attending vet may have his/her own                  Self-serving allegation
          standards, we follow the care provided by our vet during           without objective
          his/her tenure.”                                                   corroboration. Evans,
                                                                             80 F. 3d at 963.
   12     “Dr. Haddad, in her report, falsely states that [captive bears]    Fed. R. Evid. 701;
          live into their 40s, I believe in order to misrepresent their care Lack of personal
          provided, as well as to give a false impression on any possible knowledge.
          movement.”
   12     “Simply put, these are elderly bears, past or in the final years Fed. R. Evid. 701.
          of their lifespan.”
   12     The bears “are provided proper nutrition, housing, and             Fed. R. Evid. 701;
          enrichment.”                                                       Self-serving allegation
                                                                             without objective

                                                7
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¶                               Testimony                               Grounds for Striking
                                                                        corroboration. Evans,
                                                                        80 F. 3d at 963.
12    The bears’ proper nutrition, housing, and enrichment “has         Lack of personal
      been verified by USDA, Attending Vets, and Karl & Deb             knowledge; Hearsay.
      Mogenson (Natural Bridge Zoo/owners).”
12    “The bears exhibited no signs of pain (verified by USDA), ate     Self-serving allegation
      well . . .”                                                       without objective
                                                                        corroboration. Evans,
                                                                        80 F. 3d at 963; Fed.
                                                                        R. Evid. 701; Lack of
                                                                        personal knowledge;
                                                                        Hearsay.
12    “Given their age, there was an ongoing concern as to their        Fed. R. Evid. 701.
      welfare if put under for any veterinary procedure, as that
      could be more hazardous to their health.”
12    “All reports were positive to their health and care, especially  Fed. R. Evid. 701;
      at their advanced age.”                                          Lack of personal
                                                                       knowledge; Hearsay.
12    “USDA has found no violations with the[ bears’] care in 13       Lack of personal
      years.”                                                          knowledge; Hearsay.
13    “As well, if a possible concern arose [with the cougar], big cat Conclusory and
      vets were consulted.”                                            unsupported
                                                                       allegation. See
                                                                       Leskinen, 30 F.
                                                                       Supp. 2d at 533.
13    “No [n]ecropsy was . . . required as [the cougar] lived alone,   Fed. R. Evid. 701;
      had no contact with other animals, and his passing was           Lack of personal
      deemed to be due to complications of advanced age.”              knowledge.
13    “USDA also reviewed the records and found no concerns nor Lack of personal
      violations.”                                                     knowledge; Hearsay.
13    “Charlie was not left to needlessly suffer.”                     Self-serving allegation
                                                                       without objective
                                                                       corroboration. Evans,
                                                                       80 F. 3d at 963; Fed.
                                                                       R. Evid. 701; Lack of
                                                                       personal knowledge.
13    “As Dr. Duncan was not available, euthanizing was not the        Fed. R. Evid. 701;
      best course of treatment without a final diagnosis.”             Lack of personal
                                                                       knowledge.
14    “During [Diablo’s] final years, he . . . continued to thrive in  Fed. R. Evid. 701;
      his environment.” “He continued to thrive until he finally       Lack of personal
      went to sleep and passed peacefully in 2021.”                    knowledge.
14    “Dr. McFadden from USDA had also observed Diablo over            Self-serving allegation
      his lifespan at the zoo with no concerns.”                       without objective
                                                                       corroboration. Evans,

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¶                             Testimony                             Grounds for Striking
                                                                    80 F. 3d at 963;
                                                                    Hearsay.
15    Dr. Adams “felt that Snork[le] was in no pain.” Dr. Adams     Lack of personal
      “did not find [Snorkle] to be in any pain.”                   knowledge; Hearsay.
16    “Contrary to the plaintiff’s claims, the iguanas were not     Lack of personal
      included in Dr. Duncan’s PVC because they were likely not at knowledge.
      the zoo during her tenure, not because she refused to treat
      them.”
17    Dream “was considered to be in good condition.”               Lack of personal
                                                                    knowledge; Hearsay.
17    “Dr. Vest “made a[] diagnosis using a picture supplied by     Lack of personal
      PETA from March 2018. Even though PETA has been to the        knowledge.
      zoo on 2 more occasions, most recently July 19, 2021, they
      did not supply Dr. Vest with any updated information or
      pictures.”
17    “There are no concerns from any regulatory agencies           Lack of personal
      regarding the care of the horses. . . .”                      knowledge; Hearsay.
17    “Dream and Capuchino (sic), as well as Demo the donkey are Self-serving allegation
      considered to be in good shape and up to date on their        without objective
      vaccines. (As per Dr. Adams 9/24/21).”                        corroboration. Evans,
                                                                    80 F. 3d at 963; Fed.
                                                                    R. Evid. 701; Hearsay.
18    “In fact, Basset[s] are listed at number 10 as a breed of dog Fed. R. Evid. 701.
      that may be most expensive due to vet care.”
18    Bridget the Basset Hound’s condition “was not considered      Lack of personal
      life threatening.”                                            knowledge; Fed. R.
                                                                    Evid. 701.
18    Bridget the Basset Hound’s “nail trims were done at the vet,  Conclusory and
      but no evidence of any removal from her foot pad.”            unsupported
                                                                    allegation. See
                                                                    Leskinen, 30 F.
                                                                    Supp. 2d at 533.
19    “Moving [Dodger] would be detrimental to his physical and     Fed. R. Evid. 701;
      mental health. This has been stated by numerous vets and      Hearsay.
      the USDA.”
19    “Although not verified, [Dodger’s] surgery was treated as     Conclusory and
      frostbite.”                                                   unsupported
                                                                    allegation. See
                                                                    Leskinen, 30 F.
                                                                    Supp. 2d at 533.
20    Dodger “has never had an issue of staying inside when cold    Self-serving allegation
      . . .”                                                        without objective
                                                                    corroboration. Evans,
                                                                    80 F. 3d at 963;


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      ¶                                  Testimony                              Grounds for Striking
                                                                                Conclusory and
                                                                                unsupported
                                                                                allegation. See
                                                                                Leskinen, 30 F.
                                                                                Supp. 2d at 533.
      20        “Dodger’s enclosure, diet, and enrichment plans have all been   Conclusory and
                reviewed / inspected by the USDA every year, with no            unsupported
                violations. USDA also investigated Dodger's injuries in         allegations. See
                response to one of PETA’s complaints. They found no             Leskinen, 30 F.
                neglect, abuse, nor any violations.”                            Supp. 2d at 533; Lack
                                                                                of personal knowledge;
                                                                                Hearsay.
      20        “Dodger and his area have been viewed and inspected by          Lack of personal
                USDA for approximately 10 years with no concerns.”              knowledge; Hearsay.
      22        “[Diva] has learned to trust again, gained weight, and is       Self-serving allegation
                thriving.”                                                      without objective
                                                                                corroboration. Evans,
                                                                                80 F. 3d at 963; Fed.
                                                                                R. Evid. 701; Lack of
                                                                                personal knowledge.
      22        “USDA has inspected [Diva’s] areas and condition and found      Lack of personal
                no concerns.”                                                   knowledge; Hearsay.
      22        “At age 12, [Diva’s] condition has been found to be good!”      Self-serving allegation
                                                                                without objective
                                                                                corroboration. Evans,
                                                                                80 F. 3d at 963;
                                                                                Hearsay.
      23        “[S]cratching, pulling, and picking may be normal grooming      Fed. R. Evid. 701.
                for primates.”
      25        “Our local farm vet, Dr. Fred Adams has visually                Lack of personal
                examined our 2 mini horses and mini donkey, and found them      knowledge; Hearsay.
                to be in good condition, as well as giving them their
                recommended vaccines (9/24/21).”

           For these reasons, this Court should strike each of the allegations above.



IV.        CONCLUSION

           For the reasons set forth above, this Court should:

           1.       Exclude the USDA Email under Federal Rule of Civil Procedure 37(c);




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        2.       Exclude the Carden Letter under Federal Rule of Civil Procedure 37(c) and Federal

Rule of Evidence 802; and

        3.       Strike the cited allegations in paragraphs 5, 8, 9, 11–20, 22, 23, 25 from the Candy

Affidavit.



 Date        March 14, 2022                      Respectfully submitted,
             Baltimore, Maryland
                                                   /s/ Adam B. Abelson
                                                   Adam B. Abelson (#29532)
                                                   Zuckerman Spaeder LLP
                                                   100 East Pratt Street, Suite 2440
                                                   Baltimore, Maryland 21202
                                                   (410) 332–0444; (410) 659–0436 (fax)
                                                   aabelson@zuckerman.com

                                                   Marcos E. Hasbun (Pro Hac Vice)
                                                   Zuckerman Spaeder LLP
                                                   101 East Kennedy Boulevard, Suite 1200
                                                   Tampa, Florida 33602–5838
                                                   (813) 221–1010; (813) 223–7961 (fax)
                                                   mhasbun@zuckerman.com

                                                   Caitlin Hawks (Pro Hac Vice)
                                                   Zeynep Graves (Pro Hac Vice)
                                                   PETA Foundation
                                                   2154 West Sunset Boulevard
                                                   Los Angeles, CA 90026
                                                   (323) 210-2263; (213) 484-1648 (fax)
                                                   caitlinh@petaf.org
                                                   zeynepg@petaf.org

                                                   Counsel for Plaintiffs.




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